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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §   CASE NO. 1:05-CR-136(4)
                                                  §
YONGUE JOHN GROGAN                                §


                       MEMORANDUM ORDER ADOPTING
                   RECOMMENDATION ON MOTION TO SUPPRESS
                  CONTENTS OF INTERCEPTED COMMUNICATIONS

       Pending before the Court is Defendant’s Motion to Suppress Contents of Intercepted

Communications [Clerk’s doc. #208]. The Court referred the motion to the Honorable Keith F.

Giblin, United States Magistrate Judge, at Beaumont, Texas, for hearing and submission of a

recommended disposition n pursuant to 28 U.S.C. § 636(b)(1)(B) and the Local Rules for the United

States District Court for the Eastern District of Texas.

       Having conducted the proceedings in the form and manner prescribed by the Federal Rules

of Criminal Procedure, the magistrate judge issued his Report and Recommendation on Defendant’s

Motion to Suppress Contents of Intercepted Communications [Clerk’s doc. #237]. Judge Giblin




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recommended that the Court deny Defendant’s Motion to Suppress Contents of Intercepted

Communications..

       Defendant filed objections to the magistrate judge’s recommendation. See Objections

[Clerk’s doc. #239]. Pursuant to Defendant’s request and in accordance with 28 U.S.C. § 636(b)(1),

the Court conducted a de novo review of the magistrate’s findings, the record, the relevant evidence,

Defendant’s specific objections, and the applicable law in this proceeding. After review, the Court

is of the opinion that the Report and Recommendation [Clerk’s doc. #237] should be accepted.

Defendant’s objections are overruled.

       Accordingly, Judge Giblin’s Report and Recommendation on Defendant’s Motion to

Suppress Contents of Intercepted Communications [Clerk’s doc. #237] is ADOPTED by the Court.

The factual findings and legal conclusions of the magistrate are therefore fully incorporated by the

undersigned in support of this order. The Court ORDERS that Defendant’s Motion to Suppress

Contents of Intercepted Communications [Clerk’s doc. #208] is DENIED.


        SIGNED this the 24 day of May, 2006.




                                        ____________________________
                                        Thad Heartfield
                                        United States District Judge




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